Case 0:17-cv-60426-UU Document 228-6 Entered on FLSD Docket 10/01/2018 Page 1 of 9




                              EXHIBIT 4
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 2 of 9
                                                                     | Crunchbase




    Servers.com
         O er
         Overview
              view
               i          Unlock
                          U l k Ch
                                 Charts
                                     t         Acquisition
                                               A   i iti Details
                                                           D t il       Related
                                                                        R l t d Hubs
                                                                                H b      Company Tech
                                                                                         C       Tech
                                                                                                    h St
                                                                                                      Stack
                                                                                                          kbbyy Sifter
                                                                                                                Sift y      Web
                                                                                                                              bs
                                                                                                                              bs




      Overview



         Acquired by                                                                                          XBT


         CB Rank (Company)                                                                                               58,684




                                                               Servers.com
       Next generation Cloud and Dedicated hosting, bringing 40G network and ubiquitous global private network to each server
                                                          Dallas, Texas, United States

       Categories
       Cloud Computing, Cloud Infrastructure, Content Delivery Network, IaaS, Web Hosting
       Headquarters Regions
       Dallas/Fort Worth Metroplex, Southern US
       Founded Date
       1998
       Operating Status
       Active
       Funding Status
       M&A
       Number of Employees
       11-50


       IPO Status
       Private
       Company Type
                 T
       For Pro¡t


https://www.crunchbase.com/organization/servers-com#section-overview                                                               1/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 3 of 9
                                                                     | Crunchbase

       Website
       servers.com
       Facebook
       View on Facebook
       LinkedIn
       View on LinkedIn
       Twitter
       View on Twitter
       Phone Number
       +1 (888) 339-5605

       Servers.com is an automated and standardized hosting platform for small to medium scale business customers
       (SMB).The platform offers great diversity of service formats in one package, which gives the customers all the needed
       solutions and business tools under one roof, including ¢exible targeting and service pricing based on user’s action data...

       Read More




            Which funding rounds raised the most money?




                                                               UNLOCK CHARTS




      Acquisition Details

       Transaction Name
            Servers.com acquired by XBT

       Acquired by
           XBT

       Announced Date
       Dec 2, 2013
       Price
       $300K




                          Crunchbase Pro Templates for Sales Pros
https://www.crunchbase.com/organization/servers-com#section-overview                                                                 2/8
       Case 0:17-cv-60426-UU
10/1/2018                                   Document 228-6 Entered
                                                           Servers.comon  FLSD Docket 10/01/2018 Page 4 of 9
                                                                      | Crunchbase
                          Crunchbase Pro Templates for Sales Pros
                          Get a list of early-stage companies by category & location.
                          VIEW SAVED SEARCH ›




      Related Hubs

                                         Hub Name                                               Number of Organizations

           Private Dallas/Fort Worth Metroplex Companies                                                                  4,926

           United States Cloud Computing Companies                                                                        2,086

           Acquired Dallas/Fort Worth Metroplex Companies                                                                  986

           Acquired Texas Companies                                                                                       2,688

           Texas Acquired Companies                                                                                       2,660

           United States Cloud Computing Acquired Companies                                                                409

           Web Hosting Companies that Exited                                                                               710

           Content Delivery Network Companies                                                                              408

           Cloud Computing Acquired Companies                                                                              584

           Companies That Exited in 2013                                                                                  5,074


                                                                    VIEW ALL




    Company Tech Stack by Siftery

         Active Products


       Servers.com uses 9 technology products and services including Google Analytics, Google Tag Manager, and¶nginx.


                                                                                          UNLOCK MORE TECHNOLOGIES DATA ❯




    Website Tech Stack by BuiltWith

        Active Technology


       Servers.com is actively using 25 technologies for its website. These include Viewport Meta,¶IPhone / Mobile
       Compatible, and Google Analytics.


                                                                                        UNLOCK WEBSITE TECHNOLOGIES DATA ❯



    Web Tra£c by SimilarWeb

https://www.crunchbase.com/organization/servers-com#section-overview                                                              3/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 5 of 9
                                                                     | Crunchbase

              Tra£c


       Servers.com is ranked 337,618 among websites globally based on its 52,755 monthly web visitors.


                                                                                  UNLOCK MORE WEBSITE TRAFFIC DATA ❯



    Competitors & Revenue by Owler

       Servers.com has $6.4M in revenue annually.


                                                                          UNLOCK MORE COMPETITORS & REVENUE DATA ❯



      Current Team


         Number of Current Team Members                                                                          5

       Servers.com has 5 current team members, including CEO Nick Dvas.


                       Nick Dvas
                       CEO




                       Konstantin Bezruchenko
                       CTO




                       Jay Ellisson
                       Customer Relationship Manager




                       Ilya Sokolov
                       Lead Developer




                       Siarhei Karatkevich
                       Presales Engineer




      Past Team


         Number of Past Team Members                                                                             2


https://www.crunchbase.com/organization/servers-com#section-overview                                                   4/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 6 of 9
                                                                     | Crunchbase

              Person Name                         Title A
                                                        At Company            Start Date                 End Date¶

           Nick Dvas                      COO                                              2014                      2017

           Roy Premchand                  Sales Manager                                        —                          —




      Events


         Number of Events                                                                                             3


                       Latitude59 Conference 2017
                       Sponsor
                       May 25, 2017


                       Arctic15 2017
                       Sponsor
                       May 3, 2017


                       GameDev Days 2017
                       Sponsor
                       Apr 7, 2017




      Recent News & Activity

       Feb 2, 2017
       Servers.com: Network Asia — Servers.com opens new data center in Hong Kong

       Nov 1, 2016
       Servers.com: Bloomberg — Clinton Plugs Another Weak Story About Trump’s Ties to Putin

       Jun 21, 2016
       Servers.com: ACN Newsire Japanese — Servers.com Launches New Data Center in Singapore

       Mar 21, 2016
       Servers.com: ACN Newsire Japanese — Servers.com Established Partnership With a Record-Label of Famous Producer
       Scott Storch During the Participation in the World's Biggest Game Developers Conference (GDC)

       Mar 18, 2016
       Servers.com: Market Wired - Top — Servers.com Established Partnership With a Record-Label of Famous Producer Scott
       Storch During the Participation in the World's Biggest Game Developers Conference (GDC)

       Feb 10, 2016
       Servers.com: ACN Newsire Japanese — Servers.com Reveals Advanced Software-De¡ned Network for Cloud and
       Hosting

       Feb 2, 2016
       Servers.com: ACN Newsire Japanese — Servers.com Extends Global Presence With New Data Center in Moscow

       Jul 28, 2015
       Servers.com: TechCrunch — Servers.com Brings Its Bare-Metal Servers To The¶US
https://www.crunchbase.com/organization/servers-com#section-overview                                                          5/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 7 of 9
                                                                     | Crunchbase

       Dec 2, 2013
       XBT acquired Servers.com for $300,000



      Twitter

                        Servers.com
                        @servers_com

                        For clients who need a dedicated rack space, we now provide
                        private racks of up to 55U, with redundant power up to 11kW
                        and high bandwidth uplinks up to 160 Gbps per leaf-
                        switch.servers.com/private-racks




                                                                                                                             Sep 5, 2018


                        Servers.com
                        @servers_com

                        Add some scalability and high availability to your applications
                        using our brand-new HTTP load balancing service. The price
                        starts at 5€ per month; additional options include SSL
                        termination and GeoIP headers.servers.com/load-balancer
                                             Load Balancing Service | Products & services | Servers.com
                                             Distribute incoming application traffic across multiple servers. Scale your application
                                             and increase its availability.
                                             servers.com




                                                                                                                            Aug 16, 2018


                        Servers.com
                        @servers_com

                        Are you a demand-side advertising platform fighting for lower
                        RTTs? We offer servers in 7 data centers around the world,
                        providing low round trip times to trading locations of prime
https://www.crunchbase.com/organization/servers-com#section-overview                                                                       6/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 8 of 9
                                                                     | Crunchbase
                        providing low round-trip times to trading locations of prime
                        SSPs. And we have a free global private network between our
                        data centers!servers.com/solutions/adte…
                                             Reducing Network Latency for AdTech | Solutions | Servers.com
                                             Bare metal and cloud servers in seven data centers around the world with low round-trip
                                             times to biggest supply-side platforms.
                                             servers.com




                                                                                                                          Jul 30, 2018


                       Servers.com Retweeted

                        Steve Harrington
                        @SHarrington1

                        With the help of @ExtremeNetworks, @servers_com
                        implemented a network with powerful capabilities that remained
                        simple to manage #extr soch.us/2NLNtgL




                                                                                                                          Jul 25, 2018


                        Servers.com
                        @servers_com

                        Pleased to get this congratulation board from our long-standing
                        partners at Dell EMC on the opening of our new AMS1 data
                        center. Thanks, @DellEMC!




https://www.crunchbase.com/organization/servers-com#section-overview                                                                     7/8
       Case 0:17-cv-60426-UU
10/1/2018                                  Document 228-6 Entered
                                                          Servers.comon  FLSD Docket 10/01/2018 Page 9 of 9
                                                                     | Crunchbase




                                                                                               Jul 20, 2018

                                                        SERVERS.COM ON TWITTER




                                                 © 2018 Crunchbase Inc. All Rights Reserved.




https://www.crunchbase.com/organization/servers-com#section-overview                                          8/8
